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1 ADAM L. BRAVERMAN
  United States Attorney
2 EMILY W. ALLEN (SBN 234961)
  Emily.Allen@usdoj.gov
3 W. MARK CONOVER (SBN 236090)
  Mark.Conover@usdoj.gov
4 PHILLIP L.B. HALPERN (SBN 133370)
  Phillip.Halpern@usdoj.gov
5 BRADLEY G. SILVERMAN (DC Bar No. 1532664)
  Bradley.Silverman@usdoj.gov
6 Assistant United States Attorneys
  U.S. Attorney’s Office
7 880 Front Street, Room 6293
  San Diego, CA 92101
8 Telephone: (619) 546-6864
  Attorneys for Plaintiff
9 United States of America
10 THOMAS W. MCNAMARA (SBN 127280)
   tmcnamara@mcnamarallp.com
11 LOGAN D. SMITH (SBN 212041)
   lsmith@mcnamarallp.com
12 McNamara Smith LLP
   655 West Broadway, Suite 1600
13 San Diego, California 92101
   Telephone: (619) 269-0400
14 Facsimile: (619) 269-0401
15 Attorneys for Defendant Margaret E. Hunter
16                      UNITED STATES DISTRICT COURT
17                       SOUTHERN DISTRICT OF CALIFORNIA
18 UNITED STATES OF AMERICA,                  Case No. 3:18-cr-03677-W
19                Plaintiff,                  JOINT MOTION TO CONTINUE
                                              SENTENCING HEARING OF
20          v.                                DEFENDANT MARGARET E.
                                              HUNTER
21 DUNCAN D. HUNTER (1)
   MARGARET E. HUNTER (2)                     Judge:      Hon. Thomas J. Whelan
22                                            Ctrm:       3C
           Defendants.                        Current Hearing Date: Sept. 16, 2019
23                                            Current Hearing Time: 9:00 a.m.
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                                                       Case No. 3:18-cr-03677-W
          JOINT MOTION TO CONTINUE SENTENCING HEARING OF MARGARET HUNTER
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 1          The United States of America, by and through its attorneys of record, Emily
 2 Allen, Philip L.B. Halpern, and W. Mark Conover, and Defendant Margaret E.
 3 Hunter, by and through her attorneys of record, Thomas W. McNamara and Logan
 4 D. Smith, respectfully move on a joint basis to request a continuance of Ms.
 5 Hunter’s sentencing hearing, which is currently set for September 16, 2019. The
 6 parties jointly request that the Court schedule the sentencing hearing for December
 7 2, 2019 at 9:00 a.m.
 8          In support of this joint motion, the parties provide the following grounds:
 9          1.    On June 13, 2019, during Ms. Hunter’s change of plea hearing, the
10                Court set Ms. Hunter’s sentencing hearing for September 16, 2019 at
11                9:00 a.m. (ECF No. 33);
12          2.    Currently, the trial of Co-Defendant Duncan Hunter is scheduled to
13                begin on September 10, 2019 at 9:00 a.m.;
14          3.    Counsel for the United States of America and Defendant Duncan
15                Hunter have informed the Court that they anticipate that Mr. Hunter’s
16                trial will last several weeks; and
17          4.    The parties respectfully request that Ms. Hunter’s sentencing hearing
18                be scheduled for December 2, 2019 (or any other convenient date for
19                the Court), so that the trial of Co-Defendant Duncan Hunter is able to
20                be completed prior to Ms. Hunter’s sentencing hearing in light of her
21                ongoing cooperation obligations.
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                                        1              Case No. 3:18-cr-03677-W
          JOINT MOTION TO CONTINUE SENTENCING HEARING OF MARGARET HUNTER
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 1          For the foregoing reasons, the parties respectfully request to continue the
 2 date of Ms. Hunter’s sentencing hearing to December 2, 2019 at 9:00 a.m.
 3                                           Respectfully submitted,
 4 Dated: August 6, 2019                     DAVID D. LESHNER
                                             Attorney for the United States
 5                                           Acting under Title 28, U.S.C. Section 515
 6
                                             By: /s/ Emily W. Allen
 7                                             EMILY W. ALLEN
                                               Emily.Allen@usdoj.gov
 8                                             W. MARK CONOVER
                                               Mark.Conover@usdoj.gov
 9                                             PHILLIP L. HALPERN
                                               Phillip.Halpern@usdoj.gov
10                                             BRADLEY G. SILVERMAN
                                               Bradley.Silverman@usdoj.gov
11                                             Assistant United States Attorneys
12 Dated: August 6, 2019                     MCNAMARA SMITH LLP
13
                                             By: /s/ Logan D. Smith
14                                             LOGAN D. SMITH
                                               lsmith@mcnamarallp.com
15                                             THOMAS W. MCNAMARA
                                               tmcnamara@mcnamarallp.com
16                                             Attorneys for Defendant Margaret E.
                                               Hunter
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          JOINT MOTION TO CONTINUE SENTENCING HEARING OF MARGARET HUNTER
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                              CERTIFICATE OF SERVICE
1
            I hereby certify that on the 6th day of August, 2019, the foregoing
2     document was electronically transmitted to the Clerk’s Office using the CM/ECF
      System for filing, and for transmittal of a Notice of Electronic Filing to all
3     counsel of record who are deemed to have consented to electronic service via the
      Court’s CM/ECF system per Civil Local Rule 5.4.
4
       VIA CM/ECF                               VIA CM/ECF
5      Emily W. Allen                           Gregory A. Vega
       W. Mark Conover                          Ricardo Arias
6      Phillip L.B. Halpern                     Philip B. Adams
       Bradley G. Silverman                     Seltzer Caplan McMahon Vitek
7      Assistant U.S. Attorneys                 750 B Street, Suite 2100
       U.S. Attorney’s Office                   San Diego, California 92101-8177
8      Southern District of California          Tel.: 619-685-3003
       880 Front Street, Room 6293              Fax: 619-685-3100
9      San Diego, CA 92101                      vega@scmv.com; arias@scmv.com;
       Tel.: (619) 546-9738                     padams@scmv.com
10     Emily.Allen@usdoj.gov;                   Attorneys for Defendant Duncan D.
       Mark.Conover@usdoj.gov;                  Hunter
11     Phillip.Halpern@usdoj.gov;
       Bradley.Silverman@usdoj.gov
12     Attorneys for United States of America
13     VIA CM/ECF
       Devin J. Burstein
14     Warren & Burstein
       501 West Broadway, Suite 240
15     San Diego, Ca., 92101
       Tel.: 619-234-4433
16     db@wabulaw.com
       Attorneys for Defendant Duncan D.
17     Hunter
18
19     /s/ Logan D. Smith
      Logan D. Smith
20    Attorneys for Defendant Margaret E. Hunter
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